               Case 4:21-cr-00429-YGR Document 43 Filed 10/20/22 Page 1 of 3




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11 Attorneys for United States of America
12                                UNITED STATES DISTRICT COURT
13                              NORTHERN DISTRICT OF CALIFORNIA
14                                          OAKLAND DIVISION
15 UNITED STATES OF AMERICA,                     ) CASE NO. 4:21-cr-00429-YGR
                                                 )
16           Plaintiff,                          ) JOINT PROPOSED ADDITIONAL QUESTIONS
                                                 ) FOR WRITTEN JUROR QUESTIONNAIRE
17      v.                                       )
                                                 )
18 RAY J. GARCIA,                                )
                                                 )
19           Defendant.                          )
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     JOINT PROPOSED QUESTIONS FOR WRITTEN JUROR QUESTIONNAIRE
     4:21-CR-00429-YGR                        i
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              Case 4:21-cr-00429-YGR Document 43 Filed 10/20/22 Page 2 of 3




 1      Pursuant to the Court’s September 29, 2022 Second Revised Scheduling Order, the parties respectfully

 2 request that the following questions be added to the Survey Monkey questionnaire that is sent to all

 3 prospective jurors.

 4          1. [Added as question 5 in the section titled, “Previous jury service.”] Is there anything about
 5 your previous jury service that might affect your ability to be a fair and impartial juror in this case?

 6              a. No
 7              b. Yes. Explain.
 8          2. Have you or any of your close friends or relatives been the victim of a sexual assault?

 9              a. No

10              b. Yes. Please explain the general circumstances of the assault, when it occurred, the

11                  relationship of the victim to you, whether it resulted in a criminal prosecution, and whether

12                  you participated in the prosecution.

13          3. If you or any of your close friends or relatives have been the victim of a sexual assault, would

14 you still be able to fairly and impartially decide this case based solely on the evidence presented at trial

15 and the law as given to you by the judge?

16              a. Yes

17              b. No. Please explain.

18          4. Have you or any of your close friends or relatives ever been accused of sexual assault?

19              a. No

20              b. Yes. Please explain.

21          5. Have you or any of your close friends or relatives ever worked in a jail or prison?

22              a. No

23              b. Yes. Please identify the person, that person’s relationship to you, the location where they

24                  were employed, whether it was federal or state prison, and how long they were employed

25                  there.

26          6. Have you or any of your close friends or relatives ever been incarcerated in a jail or prison?

27              a. No

28              b. Yes. Please identify the person, that person’s relationship to you, the location where they

     JOINT PROPOSED QUESTIONS FOR WRITTEN JUROR QUESTIONNAIRE
     4:21-CR-00429-YGR                       1
30
             Case 4:21-cr-00429-YGR Document 43 Filed 10/20/22 Page 3 of 3




 1                were incarcerated, and how long they were incarcerated.

 2         7. Do you have strong feelings (positive or negative) about current or former prisoners?

 3            a. No

 4            b. Yes. Please explain.

 5

 6 DATED: October 20, 2022                                    Respectfully submitted,

 7                                                            STEPHANIE M. HINDS
                                                              United States Attorney
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 9                                                            /s/ Andrew Paulson
                                                              ANDREW PAULSON
10                                                            MOLLY K. PRIEDEMAN
                                                              CASEY BOOME
11                                                            Assistant United States Attorneys
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13
                                                              /s/ James T. Reilly
14                                                            JAMES T. REILLY
                                                              Attorney for the Defendant
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     JOINT PROPOSED QUESTIONS FOR WRITTEN JUROR QUESTIONNAIRE
     4:21-CR-00429-YGR                       2
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